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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH,                                                 CASE NO.: 1:21-CV-02265-APM
et al.,

       Plaintiffs,
v.

DONALD J. TRUMP,
et al.,

      Defendants.
_____________________________/

            DEFENDANT BRANDON J. STRAKA’S UNOPPOSED MOTION
           FOR EXTENSION OF TIME TO FILE A RESPONSIVE PLEADING

       Pursuant to Federal Rule of Civil Procedure 6(b), Defendant Brandon J. Straka respectfully

requests that the Court extend his deadline to file his response to Plaintiffs’ Amended Complaint.

See ECF No. 89. That response is currently due on February 9, 2023. See Min. Order (Jan. 26,

2023). For the reasons set forth below, Mr. Straka requests that the Court extend that deadline to

February 23, 2023. The Parties have conferred, and Plaintiffs do not oppose the relief requested in

this motion.

       There is good cause to grant the requested relief. On January 26, 2023, the Court dismissed

all of the Plaintiffs’ claims against Mr. Straka except for aiding and abetting assault and aiding and

abetting battery, respectively. See ECF No. 179 at 22. Since then, these Parties conferred and have

begun discussing a potential settlement. A two-week extension may resolve this case entirely

between Mr. Straka and the Plaintiffs. If it does not, there will be no prejudice upon any party.

       Wherefore, Mr. Straka respectfully requests that the Court enter the accompanying

proposed order, which extends his response deadline to February 23, 2023.




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                                        Respectfully submitted,

                                        Brandon J. Straka

                                        By Counsel

/s/ Stephen Klein                   /s/ Benjamin Barr
Stephen R. Klein                    Benjamin Barr
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of February 2023, I filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send a notification of electronic filing (NEF) to

Plaintiffs’ counsel and counsel for most Defendants.

       I further certify that, pursuant to Federal Rule of Civil Procedure 5(b)(2)(C), counsel will

endeavor to serve all other named Defendants a copy of this filing by first class mail.


                                                       /s/ Stephen Klein
                                                       Stephen R. Klein

                                                       Counsel to Brandon J. Straka
